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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :  Evidentiary Hearing and Oral Argument
STEPHEN K. BANNON,                   :  Requested
                                     :
            Defendant.               :
____________________________________:

      DEFENDANT’S REPLY TO THE GOVERNMENT’S OPPOSITION TO THE
             DEFENDANT’S MOTION TO COMPEL DISCLOSURE
            OF GOVERNMENT EFFORTS TO OBTAIN TELEPHONE
           AND EMAIL RECORDS OF MR. BANNON’S ATTORNEYS

       On February 4, 2022, the Defendant, Stephen K. Bannon, filed a Motion to Compel

Disclosure of Government Efforts to Obtain Telephone and Email Records of Bannon’s Attorneys

[Doc. 26] and a Motion to Compel Discovery [Doc. 28]. On February 25, 2022, the Government

filed its response to both motions in a single pleading styled United States’ Opposition to

Defendant’s Motions to Compel [Doc. 31].

       Mr. Bannon now files his Reply to the Government’s Opposition insofar as it relates to his

motion to compel the disclosure of the Government’s efforts to obtain the email and telephone

records of his attorney(s) [Doc. 26]. His Reply to the Government’s Opposition insofar as it relates

to his motion to compel discovery [Doc. 28] will be filed under separate cover. Mr. Bannon

incorporates all previous filings herein.

                                        INTRODUCTION

       Through this motion, Mr. Bannon simply seeks the disclosure of information and materials

to which he is legally entitled. Indeed, a primary category of materials that he seeks includes the
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Government’s statutorily mandated application(s) for an Order for email records under the Stored

Communications Act and the corresponding Order(s) the Government obtained under 18 U.S.C.

§2703(d). This should not be a matter of controversy.1

         This Circuit has already considered the status of §2703(d) Orders and applications and

found them to be judicial records to which the common law presumption of access applies, with

interests in transparency and under the First and Sixth Amendments auguring in favor of their

disclosure. Leopold v. United States, 964 F.3d 1121, 1128-1129 (D.C. Cir. 2020).2 The interests

in transparency and disclosure and the important rights at issue in this case are even heightened

because the records at issue arise from the Government’s attempt to obtain personal and

professional emails from defense counsel, a matter the Department of Justice and every court in

the land understands to have special status. In re Grand Jury Investigation, 2019 U.S. Dist. LEXIS

86801, *29-*30, 2019 WL 2179116 (D. D.C., March 4, 2019) ((“In light of the attorney-

client privilege, grand jury subpoenas that are directed at attorneys "raise special

concerns." See Sara Sun Beale et al., Grand Jury Law and Practice § 6:10 (2d ed., rev. Dec. 2018).

         Moreover, the §2703(d) application(s) and Order(s) and subpoenas in this case go to the

very integrity of the investigation and prosecution of this case. For, as will be discussed in detail


1
  In its Opposition, the Government does not deny making application to a court under §2703(d) nor does it deny
obtaining an Order under §2703(d); rather it acknowledges the demand and argues that Mr. Bannon is not entitled to
any of the materials. In further support of the belief that the Government made application and obtained an Order
under the Stored Communications Act, Mr. Bannon would note that in making its production to the Government,
Google expressly referred to a “2703(d) Order or Equivalent dated November 11, 2021.” Google makes further
reference to what appears to be a Stored Communications Act case number: “SC No. 21sc3553; 1:21-sc-03533-ETH.”
[Exhibit “2;” Bates: US 001733].
2
  An inescapable irony here is that the Opinion in Leopold, emphasizing the public nature of §2703(d) applications
and Order and the overriding interests in transparency and arising from the relevant constitutional rights was written
by then Judge, now Attorney General, Garland. Yet now, in Attorney General Garland’s name, these prosecutors
refuse to provide the §2703(d) applications or Orders. Surely, this is not consistent with the commitment to equal
justice under the law that Attorney General Garland assured the public of in his press release in this case.
https://www.justice.gov/opa/pr/stephen-k-bannon-indicted-contempt-congress.


                                                          2
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below, this prosecution team, in their zeal to obtain personal and professional email and telephone

records for Mr. Bannon’s attorney, Robert Costello, was beyond reckless. The hundreds of pages

of email information they obtained from Google, including email addresses (and IP addresses) of

the sender and recipient, date and time of the emails, metadata, social media and meeting (Google

Hangouts) data, information as to whether each email was read, remained unread, was deleted, or

what filing box the recipient put it in, and more [See e.g., 001151-0012493; 001339-1732] were

all for another completely uninvolved citizen apparently named Robert Costello or Robert

M. Costello. In fact, not one of the email accounts the Government sought access to in this

case, intending to get defense counsel’s emails, actually was defense counsel’s email account.

        It is now crystal clear that these three prosecutors and four FBI Agents in this misdemeanor

case not only obtained the personal and professional telephone records of Mr. Bannon’s defense

attorney Robert J. Costello, they sought his email records from 4 different accounts by simply

making up email addresses that had some form of the name Robert Costello in them. They then

apparently represented to a United States District Judge that they had “specific and articulable

facts” that demonstrated “reasonable grounds” to believe that the records at issue were “relevant

and material” to the prosecution of this case and, apparently based on those representations, a

federal judge issued a Stored Communications Act Order for these private email records (of

another private citizen having no relationship to this case). See 18 U.S.C. §2703(d). They did this

knowing that they had just made up the email addresses at issue, and notwithstanding the fact that



3
  The Google account records in this batch of 98 pages extend from March 5, 2021 to November 11, 2021. Given the
(sham) purpose the Government offers in its Opposition for seeking attorney email and telephone records in this case
– Mr. Costello’s status as a witness to the fact that Mr. Bannon’s “deliberate decision to ignore the subpoena’s
requirement” [Doc. 31 at 12-13] – query why it was “relevant and material” to Mr. Bannon’s prosecution (see
§2703(d)) to try to get Mr. Costello’s email account records from March 5, 2021, more than 6 months prior to any
subpoena for Mr. Bannon was issued? Or any of his email and phone records for that matter?


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one was for a “Robert M. Costello,” another was for a “Robert Costello” born three decades after

the attorney Robert J. Costello who is Mr. Bannon’s attorney, that the Robert Costello whose

records they obtained in one instance lived in Virginia, another in Armonk, NY and others

apparently did not exist. It now appears that at least one United States District Judge ordered the

production to the Government of private email records (marked “confidential” by Google itself)

based on the Government’s false representations to the Court(s). This goes directly to the integrity

of the investigation and prosecution in this case and Mr. Bannon is entitled to the information

sought – because they are judicial records carrying a common law presumption of public access,

because the Court in Leopold made clear this right to access, and because the integrity of the

investigation and prosecution, and the veracity of Government agents/witnesses is always at issue.

See e.g. Kyles v. Whitley, 514 U.S. 419, 446 (1995).

       Mr. Bannon seeks oral argument and an evidentiary hearing in this case to get to the bottom

of this outrageous misconduct by the Government – misconduct designed to intimidate and chill

the attorney-client relationship and without any legitimate basis in law or fact in this case. At this

point, Mr. Bannon seeks the materials to which he is entitled in order to make a complete record

and for the Court to have a complete record for motions to dismiss to be later filed in this case. He

and the Court are entitled to a full record for those motions.

       Finally, as will be explained below, the Government’s efforts to obtain defense counsel’s

records were part of a process of deception, reflecting a pre-determined agenda of prosecuting Mr.

Bannon criminally, as President Biden and other political figures had demanded for political

reasons, at a time when Mr. Costello believed he was participating in good-faith negotiations with

the Government, explaining all relevant facts surrounding his advice to Mr. Bannon that he could

not comply with the subpoena as a matter of law, and trying to work out an accommodation that

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would have provided a route to information rather than criminal prosecution. That was never the

Government’s agenda; it had many alternatives to obtain testimony from Mr. Bannon for the

January 6th Select Committee, if that were ever its actual agenda, as Mr. Costello made abundantly

clear. Attached as Exhibit “1” is defense counsel Robert J. Costello’s Declaration providing a

chronology of the prosecution’s deception in their communications with him. It should be noted

that the first grand jury subpoena for his telephone records that we know about was issued October

25, 2021, while Mr. Costello thought he was entering into good-faith discussions with the

Government, and well before the indictment was returned.                      It is hard to imagine that the

Government targeted defense counsel’s email and telephone records in the negotiation stage of

any other contempt of Congress referral.

         In this Reply, Mr. Bannon addresses the Government’s response as it relates to its efforts

to obtain defense counsel Robert J. Costello’s email and telephone records.4 Mr. Bannon will

provide the Court with the details of what the undersigned counsel know so far about the

Government’s actions in trying to obtain defense counsel Costello’s email, telephone, and other

private records. This Reply will then address the Government’s Opposition in light of those

actions. He will then provide a conclusion and reiterate the relief sought.

               The Specific Facts Concerning Email Records and Telephone Records The
                    Government Obtained That Have Been Produced So Far




4
 We still do not know whether the government also took steps to obtain email and/or phone records from Mr.
Costello’s co-counsel at the time, Mr. Katz. Government counsel has implied that they well might have. [Doc. 26-
2]. If they have, the relief requested in the motion [Doc. 26] applies in full force to Mr. Katz’s records as well.


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         In his motion, Mr. Bannon’s set out the general parameters of what we knew about the

Government’s actions in trying to obtain defense counsel’s email, telephone, and other confidential

records. [Doc. 26 at 3-4]. 5

         Mr. Bannon now provides further details about the Government’s actions vis a vis each

account that we know about so far:

         Email and Related Records (e.g. Google Hangouts, etc.) Sought:

         1. Google: On December 7th and 8th, 2021, almost a month after the indictment was

         returned against Mr. Bannon, the Government received from Google some 598 pages of

documents (some going back as far as March 5, 2021) [001151-001249] related to a Robert

Costello who quite clearly is identified as over thirty years younger than defense counsel Robert

J. Costello and who lives in a place other than where defense counsel lives. These documents have

been described in the initial Motion [Doc. 26 at 3-4] and include detailed information about the

other Mr. Costello’s email contacts, who he communicates with and when, and much more. It also




5
  In his motion, Mr. Bannon expressly advised the Court that he would provide any and all documents referred to in
the motion to the Court at the Court’s request, but that the voluminous email and telephone record documents were
not being filed with the motion as a matter of course because of their sensitive nature. The Government took exception
in its Opposition, advising the Court that it had only actually marked 11 of the relevant documents “sensitive,” citing
Rule 49.1 of the Federal Rules of Criminal Procedure, and it provided the Court with its discovery log as Sealed
Exhibit 1 to its Opposition [Doc. 31 at 11-12, n.4]. What the Government wrote is accurate; but that is because its
limited designation pursuant to Fed.R.Crim.Pro. 49.1 was sloppy. For example, Bates 001151 sets forth the full birth
date of the “Robert Costello” to whom the voluminous records belong. That is prohibited for an open filing under
Rule 49.1(a)(2); but 001151 is not marked “sensitive.”

Even more to the point, however, Mr. Bannon was not comfortable including in an open filing all of the detailed
private information set forth in the voluminous records the Government obtained. Similarly, Mr. Costello was not
comfortable waiving anyone else’s privacy rights – especially since these voluminous records the Government
obtained through an Order it convinced a federal judge to issue do not in any way related to defense counsel
Robert Costello, as is readily apparent from the most basic identifying information. As will be explained in
further detail, the Government apparently made up an email address (multiple ones actually) out of thin air,
that include the name “Robert Costello,” created grand jury subpoenas to obtain them and sought and obtained
a §2703(d) Order from a federal judge for full access to the same.

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includes what companies he apparently has credit card accounts with and other private detailed

information.

        The letter sent from Google to the Government concerning these records, makes reference

to a “2703(d) Order or Equivalent dated November 11, 2021 (Google Ref. No. 8786657) SC No.

21sc3533; 1:21-sc-03533-ETH.” [Exhibit “2”]. It would appear that the Government simply took

a shot in the dark that there might be a Gmail account using the name Robert Costello and so it

apparently applied for and obtained from a federal judge a Stored Communications Act Order

under 18 U.S.C. §2703(d) for all Google records (Gmail, Google Hangouts, etc.) for this person

who has an email address of robertcostello@gmail.com. Apparently searches under other email

addresses with the name Costello were made as well by Google [Exhibit 2 at Bates 001739]. This

was an outrageous abuse of the Stored Communications Act (or whatever procedure the

Government used to obtain an Order for Google records. Mr. Bannon must be provided with the

application and the Order and all other correspondence concerning this account.

        2. Google: Additionally, it appears that the Government obtained SMS text records

        from Google associated with the robertcostello@gmail.com address and SMS phone

number ending in 5220.6 [001754-001760]. These also, of course, have nothing to do with defense

counsel Costello.

        Tellingly, this was an ongoing reckless endeavor by the Government. As the next item

makes clear, by the time the Government sought these records associated with this email address,

it well knew from earlier efforts that its guesses at email addresses were dangerous in that they




6
  The full telephone number is provided in the Google documents and while not marked “sensitive,” there would seem
to be no good reason to subject the other Mr. Costello to further privacy intrusions.

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likely had nothing to do with Robert J. Costello, Mr. Bannon’s attorney. Was that disclosed to the

federal judge who issued the Order to Google?

        3.    Google: The documents from Google associated with the robertcostello@gmail.com

        Account provided on December 7 and 8, 2021, pursuant to the SCA Order (“or its

equivalent”), followed an earlier shot in the dark by the Government by grand jury subpoena which

apparently led to no production of documents. In a letter from Google to the office of these

prosecutors, dated October 28, 2021, Google reports to the Government that it conducted a search

for records associated with the email address Robert.Costello@gmail.com. [See Bates 001762-

001768]; Exhibit “3”] This time the production was made to the Government regarding this email

address that has nothing to do with Bannon defense counsel Robert J. Costello pursuant to “Grand

Jury Subpoena dated October 27, 2021 (Google Ref. No. 7950369) 2021R03379.” [Exhibit 2 at

001765].

                 Mr. Bannon is entitled to know what led the grand jury to believe its investigation

ought to include email records from the email address Robert.Costello@gmail.com or, as is more

likely, under what authority did the prosecutors on their own initiative abuse the grand jury

subpoena process.

        4.    Comcast: Additional records reflect a subpoena by the Government for a third

        Completely unrelated email account. This time the Government just made up the account

Robert.Costello@comcast.net. [001093-001095]7 Suffice it to say that by the time Comcast

provided this information to the Government by letter dated November 5, 2021, the Government


7
 The Government has designated each of these documents “sensitive” for some unexplained reason. Information at
00194-00195 is of the exact same nature as the Google documents not marked “sensitive.” In any event, no exhibit is
provided for these records since they are marked “sensitive.”

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knew that this email account it had guessed at belonged to an unrelated Robert Costello, living in

Virginia. Yet, it continued to recklessly seek email records for made up accounts, as we see from

the Google accounts referenced in items 1 and 2 above received well after the Government knew

the Comcast account was unrelated. The letter from Comcast refers to a subpoena dated October

27, 2021. Again, Mr. Bannon is entitled to know what misled the grand jury to believe that emails

records for this account were material to its investigation that resulted in Mr. Bannon’s indictment

or did counsel just unilaterally abuse the grand jury subpoena process?

        5.    Yahoo: Documents provided at US 1808-1811 reflect production pursuant to a

        Subpoena for yet a fourth guessed at email for attorney Costello, this time

bobcostello@yahoo.com. According to the letter to the Government by which the documents were

provided, they were provided on November 9, 2021 in response to a subpoena dated October 26,

2021. [Exhibit “4”]. Again, Mr. Bannon is entitled to know what led the grand jury to subpoena

records for an email account having nothing to do with defense counsel Robert J. Costello, in an

apparent effort to actually get Mr. Costello’s email records.8

                 By the time the government made whatever representations it made to a federal

judge under 18 U.S.C. §2703(d) to get a November 11, 2021 Order for the voluminous Gmail

records it obtained for an unrelated private citizen, it well knew that it had abused the grand jury

subpoena process by seeking email records for made up email accounts it thought might yield

email records for Bannon defense counsel Robert J. Costello. Did the Government apprise the

federal court of those earlier efforts and the results? Did it advise candidly advise the Court that



8
  It remains absolutely baffling why the Government would engage in such reckless conduct when it well knew
attorney Robert J. Costello’s actual email address from corresponding with him by email throughout the period it was
issuing grand jury subpoenas and unlawfully obtaining at least one SCA Order.

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the account for which it sought and obtained the Order was just made up and that there really was

no reliable basis for believing that any such account had anything materially related to the Bannon

investigation? Mr. Bannon is entitled to those documents.

       Telephone and SMS Records Sought (Home, Law firm, Cell):

       6. T-Mobile (Cell): On October 28, 2021, pursuant to “Grand Jury Summons

       2021102583521, dated October 25, 2021,” T-Mobile provided the Government with

detailed information for approximately 1550 telephone calls and SMS text messages sent and

received [001834 – Native Format Excel spreadsheet; showing to whom calls were made and texts

were sent and from whom they were received]. This phone number and the record obtained belong

to Bannon defense counsel Robert J. Costello [001842 – Native Format only – “sensitive”]. Mr.

Bannon is entitled to know what the grand jury was told that led it to subpoena Mr. Costello’s

phone and text messages.       Mr. Bannon also intends to seek an investigation through the

Department of Justice concerning the circumvention of DOJ Policy Manual 9-13.410.

       7.   Verizon (Home, Law firm, and Another Line): It appears that on or around

       November 11, 2021, one day before the grand jury returned the indictment against Mr.

Bannon, Verizon provided the Government with phone records for Mr. Costello’s home phone,

his law firm’s office phone, and for an unknown number (914 …), with such records having been

subpoenaed by the Government. Many of the records are undecipherable; but others clearly set

out phone and text message information for Mr. Costello’s telephone.

       For the Government to subpoena Mr. Costello’s law firm phone records and to do so

without seeking any supervisory authority and the implications that has for infringing on the rights

of other clients is reckless. The same is so for Mr. Costello’s home and cell phones which he uses

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to make and receive attorney-client privileged calls for this and other clients’ cases. Moreover, it

would appear that the Government engaged in some effort to ascertain who Mr. Costello was

calling, thereby clearly risking the infringement of the attorney-client privileged and or attorney-

client work product, as the 914 number for which it subpoenaed records from Verizon appears as

a recipient number in call from Mr. Costello’s telephone [See 001874]. Certainly, no effort was

made to see if Mr. Costello would produce them voluntarily [DOJ Manual 9-13.410 B.]. Mr.

Bannon is entitled to know all of the circumstances that led to the issuance of these subpoenas.

       Mr. Bannon’s motion seeks the production of the documents used to seek these attorney

email and telephone records, including the applications and Orders under 18 U.S.C. §2703(d) and

the subpoenas used to obtain the telephone records, along with any materials authorizing the same

[Doc. 26 at 17-18]. The Department of Justice will also be asked to investigate the actions at issue

in this motion.

                                 The Government’s Opposition

       The Government’s Opposition is an astonishing mixture of obfuscation, a lack of candor,

and irreconcilable inconsistencies with its positions taken in other contexts in this case. Based on

the Government’s Opposition and what we know so far of the underlying relevant conduct by the

Government, the Government’s misconduct in this matter, motivated by a dangerous, politically

motivated and misguided overzealousness, includes at least all of the following: (1) a breach of

the attorney-client relationship; (2) a violation of Department of Justice policy and the American

Bar Association’s Model Rules of Professional Conduct with respect to obtaining attorney records;

(3) false representations to a court and/or to email carriers; (4) a violation of the Stored




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Communications Act, 18 U.S.C. §2703(d)9; and (5) a reckless violation of the rights of innocent

third parties having no connection whatsoever to this case.

            The nature and level of government misconduct surrounding the efforts to obtain defense

counsel Costello’s email and telephone records are especially shocking in light of the facts that (1)

there are four FBI Special Agents and three experienced federal prosecutors assigned to this

misdemeanor case and not one had the sense of integrity or commitment to adhering to

fundamental ethical and legal tenets to at any point just say “No;” (2) the prosecutors in this case

purport to represent a division of this U.S. Attorney’s office clearly underserving of the title

“Public Integrity Section.;” and (3) this is a case in which the President of the United States

interjected himself and called for Mr. Bannon’s prosecution, before later acknowledging his

intervention was inappropriate10 and in which the United States Attorney General personally

issued a statement claiming that Mr. Bannon’s prosecution reflects the Department of Justice’s

“steadfast commitment” to adhering to the rule of law, to following the law, and to the principle

of pursuing equal justice under the law.11 If the conduct of the prosecutors in this case reflect the


9
  As explained herein, the government obtained voluminous detailed email records for the Gmail account of another
person apparently named Robert Costello, with the records containing clear and obvious identifying information to
demonstrate to any of the agents or prosecutors that they had absolutely no connection to defense counsel Robert J.
Costello. The obvious question of course, is who knowingly made the false representations to a court and/or Google
that had to be required to obtain these unrelated email records and exactly what false representations were made. This
goes directly to the integrity of the investigation in this case – a matter that is always at issue in every criminal case.
Kyles v. Whitley, 514 U.S. 419, 446 (1995); Dennis v. Sec'y, Pa. Dep't of Corr., 834 F.3d 263, 308 (3rd Cir. 2016)
(integrity of the investigation and credibility of lead government agent always at issue); United States v. Bagcho, 151
F. Supp. 3d 60, 70-71 (D. D.C. 2015) (as corrected, May 26, 2017), affirmed in part, vacated in part, remanded, 923
F.3d 1131 (D.C. Cir. 2019), rehearing en banc denied, United States v. Bagcho, 2019 U.S. App. LEXIS 29029 (D.C.
Cir., September 25, 2019), certiorari denied, Bagcho v. United States, 2020 U.S. LEXIS 2353, 140 S. Ct. 2677, 206
L. Ed. 2d 827 (April 20, 2020) (emphasizing that under Kyles, the integrity of the investigation and instances of
bumbling by case investigators is always at issue). One must also ask whether, if as it appears, the Government
obtained a §2703(d) Order from a federal judge, has that judge been apprised of how her or his Order was misused?
10
     https://www.cnn.com/2021/10/21/politics/january-6-joe-biden-town-hall/index.html                                      ;
https://thehill.com/homenews/administration/577956-biden-on-comments-that-doj-should-prosecute-those-who-defy-subpoenas;
https://www.dailymail.co.uk/news/article-10118863/Biden-admits-wrong-say-Steve-Bannon-charged.html.
11
     https://www.justice.gov/opa/pr/stephen-k-bannon-indicted-contempt-congress

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Attorney General’s view on adhering to the rule of law, following the law, and to the pursuit of

equal justice under the law, America is in for a world of trouble. The conduct of the prosecutors

and agents in this case, with respect to the matters at issue in this motion, without any question

reflect the complete reckless disregard for fundamental constitutional rights and the attorney-client

relationship, the abuse of the grand jury subpoena process, and misleading and outright

misrepresentations to a court(s).

        It appears that the government’s response to Mr. Bannon’s motion to compel disclosure of

the government’s efforts to obtain telephone and email records of Mr. Bannon’s attorneys [Doc.

26] is limited to pages 10-15 of its Opposition [Doc. 31 at 10-15]; accordingly, this Reply focuses

exclusively on that section of the Opposition. The bottom line with respect to the Opposition, is

that the Government continues to refuse to provide any of the requested information and material

in violation of its obligations.

        Three Preliminary Points Concerning the Opposition:

        1. The government’s heading for the relevant section of its Opposition bears only a

passing relationship to what Mr. Bannon actually asserts and seeks to compel in the motion at

issue. The relevant heading in the government’s Opposition asserts that the Court should deny

Mr. Bannon’s motion to compel “the Government’s investigative Deliberations and Steps Relating

to Robert Costello.” [Doc. 31 at 10]. Of course, what Mr. Bannon actually seeks to compel with

his motion are specific documents the government has withheld that were used unlawfully and

unethically to try to obtain defense counsel Costello’s private email and telephone records, not just

some abstract “investigative deliberations.” [Doc. 26 at 17-18]. Indeed, much of the government’s

Opposition is deliberately unresponsive and offers nothing more than a response to strawman


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arguments not actually made by Mr. Bannon, while avoiding its obligations on the real and very

serious issues.

       2. In some instances, the government strikingly misrepresents what expressly is written

in Mr. Bannon’s motion.      For example, the government writes, “[I]nstead, the Defendant

misleadingly suggests that the Government has obtained or tried to obtain the content of text

messages and emails between Mr. Costello and the Defendant ….” [Doc. 31 at 11]. Later, on the

same page, Government counsel writes that the Defendant knows, but does not state “with any

clarity” that “none of the information the Government obtained includes the content of any

communications.” [Doc. 31 at 11-12]. Actually, the Defendant does not know the extent of what

the Government obtained; rather the Defendant knows only what the Government has decided to

produce. However, on the specific assertion the Government makes – that the Defendant is

claiming or suggesting that the government obtained or tried to obtain the content of the

communications – the Government’s assertion is demonstrably false.

       In fact, Mr. Bannon expressly advised the Court in his motion that from the production

made so far “it does not appear that the Government obtained the contents of the emails …”

[Doc. 26 at 4, n.6] (emphasis added). Indeed, Mr. Bannon goes on to assert that this is why the

Government’s obligations under 18 U.S.C. §2703(d), which applies to records were triggered,

rather than the obligations under §2703(b)(1), which applies to contents. [Doc. 4, n.6] (emphasis

added). Of course, the Government wholly breached its obligations under §2703(d) as will be

readily demonstrated; but the preliminary point is that the Government just intentionally

misrepresents the motion’s assertions and then argues accordingly, based on its false premises.

       3. Since the Government complains in various places in its Opposition to this motion




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that a number of matters are unclear, Mr. Bannon will be crystal clear in this Reply about just how

outrageous the Government’s conduct has been with respect to its efforts to obtain Mr. Costello’s

personal and professional emails records and telephone records and how far its reckless disregard

for Mr. Bannon’s constitutional rights and the rights of at least two innocent third parties having

no connection to this case have been and how unethical and wrong its conduct has been vis a vis

Mr. Costello. The Government’s conduct in this regard reflects a very dangerous combination of

deceit and misconduct.

        The Government asserts that it is “somewhat unclear” why Mr. Bannon seeks to obtain

information and materials that include its applications for §2703 Orders (and the Orders) and

subpoenas it used to try to obtain defense counsel’s personal and private email and telephone

records [Doc. 31 at 10-11]. It ignores the legal status of the §2703(d) materials as reflected in

Leopold and ignores the long-standing case law that stands for the obvious proposition that

subpoenaing defense counsel’s email and telephone records risks chilling the attorney-client

relationship, violates fundamental ethical and its own Department of Justice policy positions,

especially without the requisite showing delineating in the applicable ethical provisions and

without satisfying DOJ criteria and supervisory requirements. [ See Doc. 26 at 11-15].

        In support of its argument, the Government takes issue with Mr. Bannon’s reference to §9-

13.410 of the Department of Justice Manual which requires supervisory authorization prior to

subpoenaing attorney records related to the attorney’s representation of a client and which

describes the special concerns when attorney records are sought.12 [See Doc. 26 at 13-15, citing




12
 The Government, of course, admits that it issued the subpoenas and sought the §2703(d) Orders in direct relation to
Mr. Costello’s representation of his client, Mr. Bannon [Doc. 31 at 12-13].

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DOJ     Manual       §9-13.410:     https://www.justice.gov/jm/jm-9-13000-obtaining-evidence#9-

13.410https://www.justice.gov/jm/jm-9-13000-obtaining-evidence#9-13.410.

        The Government takes the absurd position, without any citation to supporting authority for

its unsupportable assertion, that actually the DOJ policy (and presumably all of the language in the

Policy about the sanctity of the attorney-client relationship, the risks subpoenas for attorney

records can pose to that sacred relationship, the layers of precautions that must be taken, including

required showings and supervisory approval) only applies if the subpoena for attorney records is

served directly on the attorney and is not used to obtain his emails and telephone records related

to his representation of the client from a third party. [Doc. 31 at 11-12 n.3]. There is no basis

cited for this illogical assertion. In addition, it argues that the Policy expressly avoids creating any

enforceable rights [Id.]. That certainly is correct; but this is not a case in which the Defendant is

seeking to exclude such records because the Policy was violated. Rather, the Policy is relevant in

the breach in this case to demonstrate just how reckless the Government’s misconduct has been in

this case, unfettered even by DOJ restraints, all apparently simply to serve its political agenda in

this misdemeanor case and to try and intimidate Mr. Bannon and others.

        The Government simply ignores the absolute requirements of 18 U.S.C. §2703(d) and

never explains how it convinced a federal judge to issue a Stored Communications Act Order (or

Orders) for the production of email records based on fabricated email addresses, with no real basis

to support the requisite factual showing the law demands before such intrusions are permitted.

What would the federal judge who issued the Order(s) based on the Government’s false

representations think now? The Government sloughs it all off by arguing that it did not obtain the

contents of the emails. That is no defense. It sought and obtained email records unlawfully and

§2703(d) expressly requires the mandated showing for “records” in contrast to §2703(b)(1) that

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deals with requests for contents. The Stored Communications Act provides for such broad

intrusions as the Government undertook here only in the circumstance in which its protective

requirements are met. These prosecutors corrupted that process and literally asked the Court to

ignore it, while misusing grand jury subpoenas as well. How about the wrong Robert Costello

whose records the Government obtained under false pretenses – records comprising hundreds of

pages and including detailed information about his associations and communications that the

Stored Communications Act intended to protect as private, absent a legitimate showing under

§2703(d)?13

     The Government’s Attempt to Justify Its Actions Here Waives Its Position on Seeking to
         Bar Mr. Bannon’s Reliance on the Advice of Counsel and on the Law [Doc. 29]
          Perhaps the most significant portion of the Government’s Opposition is the single

paragraph in which the Government attempts to justify the subpoenas. The Government’s

argument in this context undermines its argument urging the Court in its separately filed motion

to bar any evidence or argument at trial concerning Mr. Bannon’s reliance on the advice of counsel

or on the law [Doc. 29]. It also, by definition, reveals that the Government believed the attorney

telephone and email records it sought to obtained and obtained would be relevant to attorney-client

privileged matters – communications between Mr. Bannon and Mr. Costello on the very subject

matter of this case and it offers as justification, Mr. Costello’s status as a witness, based on his

communications with his client. [Doc. 31 at 12-13].

          The Government tries unsuccessfully against logic to deflate the argument that it has

undermined, indeed, waived its motion to bar any argument or evidence on Mr. Bannon’s reliance


13
  The Stored Communications Act was enacted to offer “network account holders a range of statutory privacy rights
against access to stored account information held by network service providers. The statute creates as set of Fourth
Amendment-like privacy protections by statute, regulating the relationship between government investigators and
service providers in possession of users’ private information.” Orin S. Kerr, A User’s Guide to the Stored
Communications Act, and a Legislator’s Guide to Amending It, 72 Geo Wash. L. Rev. 1208.

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on advice of counsel or on the law [Doc. 29] by asserting that “while any legal advice Mr. Costello

provided to the Defendant to refuse the subpoena is irrelevant in the face of the subpoena’s

demands, he is certainly a witness to the Defendant’s deliberate decision to ignore the subpoena’s

requirements.” [Doc. 31 at 12-13]. The Government goes on to note, in its purported justification,

that Mr. Costello was the Committee’s “point of contact” for Mr. Bannon, sent letters to the

Committee on Mr. Bannon’s behalf, and communicated with former President Trump’s attorney

concerning the invocation of executive privilege and he advised Mr. Bannon. [Doc. 31 at 13]. In

other words, Mr. Costello served as Mr. Bannon’s attorney on whom he relied and who acted on

his behalf and advised him.

       Putting aside the logical conclusion of this argument – that every attorney who acts in her

or his capacity as an attorney should be subject to having all email and telephone records

subpoenaed and ordered by a court in an ex parte proceeding – the Government’s argument

expressly and impliedly concedes that Mr. Costello is an appropriate trial witness on the subject

of the willfulness (“deliberate decision” in the Government’s words – Doc. 31 at 12) of Mr.

Bannon’s failure to comply with the Committee’s subpoena.

       Exactly as the Government asserts, it is because Mr. Costello (1) was the only one with

whom the Committee communicated regarding Mr. Bannon, (2) was the only one who

communicated with the party invoking executive privilege, and because it was Mr. Costello who

advised Mr. Bannon on his legal obligations vis a vis the subpoena, once executive privilege was

invoked as well as on the relevant OLC opinions and their binding effect, and the prohibition

against complying under the circumstances presented by this case, that he is a potential witness in

this case [See Doc. 30]. That is exactly why Mr. Bannon must be permitted to put forward the

advice of counsel and reliance on the law defense.

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         The Government’s attempted justification of its conduct with respect to Mr. Costello’s

email and telephone records fully supports Mr. Bannon’s argument on this issue [Doc. 30]. Indeed,

the Government offers the additional argument that Mr. Costello will be a witness, and therefore

it was proper to obtain his records because he has said that he “warned the Defendant to ‘beware’

in not complying with the subpoena. [Doc. 31 at 13].14 Government counsel will have every

opportunity to pursue that point on cross-examination at trial. But where, as here, it offers as the

only justification for the attorney subpoenas and SCA Order(s), Mr. Costello’s status as a witness

the Government hopes will prove its case on willfulness and on any warnings, he gave to Mr.

Bannon regarding non-compliance, it has waived its argument in its motion in limine [Doc. 30] by

definition. Surely even these prosecutors cannot with a straight face argue that they should be able

to call Mr. Costello as a witness to testify that he told Mr. Bannon to “beware” but Mr. Bannon

should be prohibited from having him explain the context for that admonition and from having

him fully explain the actual advice he gave him. Such a position by the Government obviously

would find no support in the law.

         The Government cannot be permitted to justify its actions with respect to the attorney

subpoenas and SCA Order(s) by asserting that Mr. Costello will be a witness on whether Mr.

Bannon’s decision was deliberate and on what supposed warning he gave Mr. Bannon, while

arguing that Mr. Bannon is barred from offering argument or evidence on what Mr. Costello




14
   This purported post-hoc justification by the Government for seeking Mr. Costello’s email and telephone records is
rather suspect, at best. It began issuing grand jury subpoenas for Mr. Costello’s private records on October 25, 2021,
if not before [See T-Mobile letter referring to “grand jury summons” dated October 25, 2021]. The Government could
not have learned about the “beware” comment until November 3, 2021 at 6:24 pm in an email Mr. Costello sent to
them then. In fact, the date on which the Government first began issuing subpoenas for Mr. Costello’s private records
was the first day he had contact with them and was before any substantive communications. Moreover, the
Government’s claim that Mr. Costello counseled his client to “beware” in not complying with the subpoena is
absolutely false. The warning related to the actions of other counsel; but making that argument further undermines
the Government’s position vis a vis the advice of counsel defense.

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actually advised him with respect to the subpoena and executive privilege. That would not make

sense or permitted in any universe in which there is a Fifth and Sixth Amendment and the Federal

Rules of Evidence.

       There are, of course, additional problems with the Government’s claimed justification for

its misuse of subpoenas and the SCA Order(s) to obtain attorney email and telephone records in

this case. To the extent in trying to justify the subpoena, the Government tries to draw a phony

distinction between Mr. Costello simply testifying about Mr. Bannon’s failure to appear pursuant

to the Committee’s subpoena and the reasons for it, that argument must be immediately rejected

as pure nonsense.

       First, the Government has never understood at any time that Mr. Bannon’s defense would

be to dispute whether he actually appeared for the subpoenaed deposition of provided the

subpoenaed documents. He has never claimed that somehow he showed up and there was no one

to take his deposition or receive the documents at the appointed dates and times. Secondly, Mr.

Costello was in New York, as the Government well knew, and Mr. Bannon was in Washington,

DC. The Government would have an impossible hurdle to overcome to call Mr. Costello as a

competent witness with admissible evidence to offer for the truth of its assertion on whether Mr.

Bannon appeared for his deposition or produced documents in Washington, DC.

       Finally on this point, the Government has not explained why it needed account records

dating back to March 5, 2021 [001151-001249], metadata for some Mr. Costello’s Google

Hangouts account [001251-001336] or detailed email records showing the time and date of every

email sent, the recipient, what box the email was filed in, whether it was read and saved or unread

or deleted [001339-001732] or any of the other email and personal and professional telephone



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records it obtained, in order simply to be prepared for testimony from Mr. Costello that Mr. Bannon

did not appear for his deposition in Washington, DC.

       In short, the Government’s whole argument is utter disingenuous nonsense offered to try

to justify outrageous, intrusive, unlawful, and unethical misconduct, in derogation of the sanctity

of the attorney-client relationship, the grand jury subpoena process, its own Department policy,

fundamental principles of ethics and the privacy policy behind the Stored Communications Act’s

stringent requirements.

       The Government’s conduct and attempted justifications and further argument along the

lines of “no harm, no foul” [Doc. 31 at 15], ignores the very important principles and underlying

safeguards set out by the United States Supreme Court in its 2018 decision in Carpenter v. United

States, -- U.S. --, 138 S. Ct. 2206, 201 L. Ed. 2d 507 (2018), in recognition of the privacy interests

in a matter far less intrusive than what the Government obtained in this case and ignores the Fourth

Amendment implications of the Government’s conduct, in addition to the Fifth and Sixth

Amendment rights violations and the damage done to the attorney-client relationship with such

action. By its actions the Government sought to make Mr. Costello into Mr. Bannon’s adversary

as a witness against him, while at the same time disregarding and now trying to prohibit evidence

of all of the legal advice Costello actually gave Bannon. The Government’s attempted interference

with the attorney-client relationship is an ethical breach of the first order.

       In a display that truly shows that these prosecutors know no shame, after having obtained

his personal and professional attorney emails, while Mr. Costello believed he was negotiating in

good faith to resolve the client’s case – telephone records that reflect the attorney’s calls to other

clients, reflecting investigative steps and strategy in this case that now could be garnered by any

industrious person armed with the information - and after obtaining Stored Communications Act

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court order(s) on false pretenses, the Government closes its argument in Opposition by writing, in

effect, that the misconduct is just not relevant to the case and there is nothing Mr. Bannon can do

about it; so they engaged in it with impunity and can do so at any future time, because “the nature

and steps of the investigation leading to the charges in this case are irrelevant to the Defendant’s

factual guilt or innocence at trial …” and therefore the Court is powerless to order the discovery

Mr. Bannon seeks [Doc. 31 at 15]. These prosecutors’ view of how our criminal justice system

works is both wrong and very dangerous and must be emphatically rejected. See Kyles, 514 U.S.

at 446; See also, In re Special Proceedings, 2012 U.S. Dist. LEXIS 195624, *26-*27 (D. D.C.,

March 12, 2012) (emphasizing the dangers of an overzealous prosecution team and the “risks

inherent when the government does not abide by its discovery obligations,”).

       Moreover, contrary to the Government’s assertion that the Defendant is merely speculating

about misconduct or simply desires to look for misconduct [Doc. 31 at 15], here the outrageous

misconduct is unmistakable. Violating the Stored Communications Act by providing false

information to get an Order to obtain a person’s detailed email records is pretty clearly serious

misconduct by any standards, as is the rest of what we now know this prosecution team did. Mr.

Bannon is entitled to know who made false representations to whom (as is the Judge to whom they

were made and who issued the Order(s) based on them) and what those false representations were.

The same principle applies for all of the attorney records sought without any authorization or

supervision, through the abuse of the grand jury subpoena process. It is not believed that any

warrant ever was sought or obtained with respect to any of the email/internet records or any

telephone records. Mr. Bannon does not know if any records were sought or obtained for Mr.

Costello’s co-counsel, Mr. Katz.




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                                               CONCLUSION

        This Motion is not just about the abuse of the grand jury subpoena process and the Stored

Communications Act or the complete breach of Department of Justice policy and the underlying

reasons behind that policy that reflect our Government’s recognition of the sanctity of the attorney-

client relationship in our criminal justice system. Nor is it just about the effort by overzealous

prosecutors to intimidate Mr. Bannon or make an example out of him or “gain leverage” as the

President and members of Congress have demanded15 by obtaining his attorney’s email and

telephone records without any lawful basis or legitimate reason. It is far worse.

        In their reckless zeal, these 3 prosecutors and their staff and the 4 FBI agents in this

misdemeanor case just made-up email addresses with a variety of carriers and served subpoenas

and court orders on those carriers, without regard to the consequences of their actions. They did

not stop even after they learned beyond any question that these were not email addresses for Mr.

Costello; instead, they apparently made representations to a federal judge that could not have been

true or accurate, in order to get an Order for more emails from an account they had no reason to

believe really belonged to attorney Robert J. Costello. It was just made up; they hoped they would

get lucky and it would pan out, no matter the invasion of privacy it caused for another private

citizen. They obtained hundreds and hundreds of pages of confidential email records from this

private citizen and went beyond that to his records on other Google sites, all the while ignoring the

fundamental principles underlying the Stored Communications Act and the requirement for

supervisory authorization for such subpoenas.




15
    https://www.rollingstone.com/politics/politics-news/adam-schiff-bannon-indictment-convince-others-cooperate-
1257743/; https://thehill.com/homenews/house/577138-schiff-says-holding-bannon-in-criminal-contempt-is-a-way-
of-getting-peoples;     https://thehill.com/policy/national-security/582396-jan-6-panel-sees-leverage-from-bannon-
prosecution.

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       What makes all of this even more offensive is that their Reply makes clear their brash

confidence that they can get away with it with impunity, that the DOJ policy cannot be enforced

by Mr. Bannon and that there is nothing this Court can do about it. On top of it all, there was never

any good or legitimate reason for the Government to have defense counsel’s email or telephone

records; no need at all to know who he has called or emailed or text messaged, who called or

emailed him or text messaged him, or when, or what happened to the email or text or how long

they spoke. The telephone records they obtained reflect calls to and from other clients on

privileged subjects, or calls that reflect strategy and contacts with witnesses, all of which could

well reveal privileged matters for anyone who takes the time to follow up on who was on the call

and when in cases having nothing whatsoever to do with Mr. Bannon. It is nothing less than

outrageous and requires a strong deterrent message. We must never license these kinds of actions

that tear at fundamental tenets of our criminal justice system just because the Defendant here is

named Bannon or belongs to one political party. Allowing the Government to do with impunity

what they have done here literally puts every American’s right to the effective assistance of counsel

and to a fair trial at risk and this our courts must never allow.

   Based on the foregoing, Mr. Bannon respectfully requests an Order from this Honorable Court

   1. Provide to defense counsel: A copy of any and all subpoenas and Order(s) that were issued

       and that were directed to third parties in an effort to obtain email and telephone records for

       Robert J. Costello, Esq. (and any other counsel for Mr. Bannon), along with all documents

       submitted in connection with any and all applications for any such court Order(s) or so-

       ordered subpoena.




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   2. Provide to defense counsel: A list of all third parties on whom a subpoena, court Order or

      other process was served in the effort to obtain email and telephone records for Robert J.

      Costello, Esq. (and any other counsel for Mr. Bannon).

   3. Provide to defense counsel: A list of all people in the Department of Justice from whom

      authorization to seek and obtain the email and telephone records for Robert J. Costello,

      Esq. (and any other counsel for Mr. Bannon) was sought and who provided any such

      authorization.

   4. Disclose to defense counsel: Whether the email and telephone records obtained were

      shown or described or referred to before the grand jury and if so, provide to defense counsel

      all relevant grand jury transcripts, along with a list of any and all other parties to whom

      these records were provided or described.

      WHEREFORE, for the foregoing reasons, Defendant Stephen K. Bannon respectfully

requests that this Court GRANT his MOTION TO COMPEL DISCLOSURES CONCERNING

THE GOVERNMENT’S EFFORTS TO OBTAIN ATTORNEY TELEPHONE AND EMAIL

RECORDS.

Dated: March 8, 2022                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 8th day of March, 2022, a copy of the foregoing Motion

was served via the Court’s CM/ECF system on all properly registered parties and counsel.


                                              /s/ M. Evan Corcoran
                                             M. Evan Corcoran (D.C. Bar No. 440027)




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